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September 20, 2021

VIA ECF

Honorable James J. Garrity, Jr.
United States Bankruptcy Court, Southern District of NY
One Bowling Green
New York, NY 10004

Re:    In re Orly Genger, Case No.: 19-13895-jlg

Dear Judge Garrity:

I have recently changed firms and respectfully request to withdraw as counsel for Sagi Genger and
TPR Investment Associates, Inc. These parties are still being represented by other attorneys of
Emmet, Marvin & Martin LLP.

Thank you for your time and attention to this matter.

                                                       Respectfully submitted,




                                                       s/ Beth Khinchuk




cc:    all counsel via ECF




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